                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:05CR240

                                                  )
UNITED STATES OF AMERICA                          )
                                                  )
               vs.                                )
                                                  )                  ORDER
Daniel Dedrick                        (1)         )
John Wesley Rasmussen, II             (2)         )
D&C Assault Technologies              (3)         )
                                                  )


      THIS MATTER is before the court upon defendant D&C Assault Technologies, Inc.’s
Motion to Adopt Motion of Co-Defendant [doc. 45].

        It is understood that the motion to continue on behalf of defendant Daniel Dedrick was
also intended for defendant D&C Technologies. Therefore, the motion is GRANTED.

        The court finds the ends of justice served by taking such action outweighs the interest of
the public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1). The court
further finds defendant John Wesley Rasmussen’s trial of this matter should be continued along
with co-defendants Dedrick & D&C Technolgies.

       IT IS THEREFORE ORDERED that this trial be scheduled for the July 18, 2006 term
at 10:00 a.m. as to all above-named defendants in the Charlotte Division.

        The Clerk is directed to certify copies of this order to Defendant, counsel for Defendant,
to the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.




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                     Signed: January 12, 2006




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